Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 1 of 41




                                     Exhibit
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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 2 of 41



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                               DEPARTMENT OF THE NAVY
                               BUREAU Ot"' MEDICINE AND SURGERY
                                     WASHINGTON %5, D. C.                                       IN REP!.Y AO'E:R TO


                                                                                  DlJMEJi~733-PR
                                                                                  AlO-1/L5
                                                                                  15 January 1960


     From:      Chief. Bureau of Medicine and Surgery
     To~        Activities Submitting Occupational Health Reports (NavMed 576)

     Subj;      occupational Bealth Hazards; Re!ea&e No. 22

     Ref:       (a)   MANMED 23-21

     Enel:      (1)   List of Occupational Health Hazards (Ju~ - September 1959)

     1.     The Quarterly Occupational Health Reports (NavMed 576) for July through
     Sept.:mber 1959. I;'ublllitted in accordance with reference (8) J have been re-
     vle,~;!.d. Potential health hazards of speciaL interest have been selected
     from these reports and are forwarded herewith as enclosure (1).
     2. The compilation contained in enclosure (1) is intended as a ready
     reference to current problems, and in some instances will help avoid
     duplication in the solution of these problems. It is also intended to
     aid Medical Department personnel 1n the recognition of potentially hazard-
     ous materials and processes. Further detailed information regaTdiog
     specific hazards noted io enclosure (1) may be obtained from the originat-
     ing activity.

     3.  The information contained herein on the composition of materials is
     to be treated 3S m.enufacturer' s ''DISCREE'Iti proprietary information, in
     accordance with SecNav Instruction 5570.~ of 6 April 1957, and is to be
     used solely for the control of potentially toxic materials. It 1s not to
     be released for any other purpose.

     4. The request for ~nformation pertaining to the social and scientific
     activities of personnel engaged in the Occupational Health Program has
     been favorably received and is appreciated. A subtitle for industrial
     hygiene servi~es provided the Fleet ~ill be included henceforth under
     the subtitle "Shipboard Industrial Hygiene Surveys and Investigations!' •


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                                              LLOYD B. SHONE
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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 3 of 41




                           OCCUPAtIONAL HEALtH HAZARDS
                      Derived from Industrial Health Reports
                     July 19~9 througb September 1959

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  1.   Chemical Health Hazards.
        A.   Inhalation Hazards Due to Gases. Vapors. Fumes and Dusts

             1. 1. 1, I-Trichloroethane. Pollowing B Medical Admission to
  the Dispensary an investigation was made 00 a submarine undergoing repair.
  The workman involved had been preparing surfaces and brush paintiog with
  Plasite Paint Formula No. 7144 in the Sanitary Tank which was about four
  feet square and six feet deep. No ventilation was provided to tbe space
  and the workman bad abou~ 8 pint of the paint In the tack with btm. After
  being in tbe tank approximately one hour he was found to be uDcooscious
  and removed to tbe Dispensary. A witneS3 said that the workman was wear-
  ing 3n organic vapor-Tespirator a~ the time of his removal from the tank.

          Plasite Paint contains about 3S% l,l,l-Trichloroethane. Other
   common names for this solvent are Methyl Chloroform, Vythene, Chlorothene
   and Magselect, 1, 1, I-Trichloroethane is very volatile, requiring little
   heat to cause evaporation. Plasite is aD epoxy resin type paint and is
   mixed with an amine hardener prior to application. The exothermic re-
   action of the mixture may have been a factor in the workmen's exposure,
   The vapor is heavieT then air and therefore tends to displace air in
   enclosed spaces, the organic vapor respirator uorn by the t'lorkmen is
   designed to remove vapors from the air when concentrations do not exceed
   1,000 parts per million (ppm), It had a knitted cotton facelet over the
   contact area betT/leen the face and the mask. In testing the efficiency
   of the respirator it was noted that it was not possible to pull a vacuum
   by closing off the inlets to the organic vapor cartridges. This indica-
   ted that the workman was breathing the contaminated air around the face let •
 . Because of the potential hazard !nvolved in the Plasite application it
   was recommended that air supplied respirators and ventilation be pTovided
   during such work on interior surfaces. It was also recommended that
   organic vapor respirators be used only when applying petroleum spirit type
   paint vehicles and that the f~celets be removed prior to issue.          (1)

             2. A request was received to test the cable tanks and cones
  of a cable-laying ship for oxygen content and for "the presence of any
  toxic or injurious gases. the request was made because of a casualty
  occurring on a similar ship operating in the Atlantic. Oxygen valves
  ranged from 5.5% to 20.4% and carbon dioxide fro~ 11.77. down to 0.0%.
  Carbon monoxide concentrations of about 5 ppm were found in one tank
  and its associated cone. Tests for hydrogen sulfide, chlorinated
  hydrocarbons, arsine, phosgene, nitrous gases, and flammable vapors    (19)

                                                   enclosure (1)
                                   --157--
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FE   Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page        4theof 41
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           were all negative. The ~ost serious potential hazard existed in a cone
           with an oxygen content of 5.5% and a carbon dioxide content of 11.17..
           The source of the carbon dioxide bas not been. established but may be pro-
           duced by bacterial or chemical action on tbe whiting used to keep the
           cable from sticking.                                                     (19)              i··
                                                                                                      i
                      3. Rapid drying primers. A study.is in progress to deter~
           mine tbe feasibility of the use of rapid drying primers for steel plate.
           The search is particularly slanted toward obtaining a paint which may be
           welded upon without producing a faulty weld. At present, zinc chromate
           primer must be removed in the way of welding because of porosity of the
           weld. The Industrial Hygiene Division investigated the health aspects
           of two of these paints, a lacquer primer and an acryli~ ester base paint.
           Application of rapid drying paints always poses an industrial health
           pro~lem because of the evaporation of solvents. When applied outdoors
           in ~he steel yard. sufficient dilution of vapors should occur so that
           exposure to hazardous coneentrations would be limited to those engaged
           in the actual application. Application of lacquers or acrylic paints
           elsewhere ~ould require precautions similar to those no~ used for Saran
           and epoxy coatings. Tests were made for potential health hazards created
           by the decomposition of the dried paint film by welding and burning.
           Tests were made for carbon monoxide, oxides of nitrogen. phosgene, acidic
           or alkaline gases, aod alde~ydes were found under laboratory conditions.
           To date, tests indicate that the normal precautions used in welding or
           burning, i.e., the proper use of exhaust ventilation or respiratory pro~
           tection, should prevent exposure. However, should welding or burning
           take place on a bulkhead or deck coated with material on the opposite
           side, decomposition of the paint could occur in adjoining spaces with
           harmful results.                                                         (4)

                      4. Inhalation. The first application of. Devran Coating by
           this shipyard was accomplished without incident. The coating was
           applied not (about 1600 F.) by spray methods to the interior of submarine
           ballast tanks. Complete skin protection ~d the use of air line respira-
           tors were required for painters applying the coating. Gloves and charcoal-
           type respirators were used by painters mixing or carrying the resin.
           Tests for organic amines and for butyl cello solve in the exhaust air
           from the ventilating syst~ and in the area immediately over the mixing
           tank were well within the accepted permissible limits.                  (19)

                      5. Employee inhaled chlorine while attempting to clear the
           atmospheric vent tube to a chlorinator by blowing into the tube with his
           mouth. When the obstruction ~as blown clear the chloyine fed back into
           the line and the employee inhaled enough gas to cause respiratory discom-
           fart and throat iryitation. An investigation of work methods indicated
           the present practice of clearing plugged chlorine lines by blowing
            into tham   should be discontinued; the use of an aspirator was recommend-
           ed for this purpose. It was further recommended that employees working
           on chlorine charged lines or equipment wear the gas mask provided.       (9)

                                           -158-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 5 of 41
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     Release No.22                                          FeR OFFICIAL USE ONLY


                6.   Trichlorethylene.   Employees on a 2ad. deck'of a building
     compLained that a stroDg solvent odor was present in the shop and a number
     of them felt dizzy and nauseated.   Investigation failed to reveal any use
    of solvents in the shop but there was aD uDmistakeable odor of trichlore-
    thylene the source of which was finally traced to a shop on the 1st. deck.
    There a vapor degreaser was found to be improperly used. The rinse nozzLe
    was connected to a source of compressed air and clouds of trichLorethylene
    vapors were being blown out of the machine. The tremendous amounts of
     contaminant thus created permeated the work area aod channeled through
     the ceiling to the floor above. The steam pressure was set too highJ
     so that the solvent was overheated. The vapor cut-off thermostat was
     inoperative. The operator ~ore a chemical eartridge respirator which
     apparently was inadequate because he complained of Itfeeling drunk". The
    other employees nearby were also affected. The machine was ordered taken
    our of use until sucb time as a liquid pressure pump would be installed
    ins:.,ead of compressed air for the rinse operation and until other repairs
    ,... ere made to ensure that the vapors are controlled. This was accomplished
    within a few days. Follow-up tests were made and the vapor concentrations
    were found to be consistently below 50 parts per million indicating that
    normal conditions were obtained.                                           (5)

                7. Fumes from Burnout Tests. An investigation ~as made in
    the Power Section of the Material Laboratory, Bldg. fJ296 t in ~lhieb is
    located a high power test station ~hicb can apply as high 8S 100,000
    amperes and 500 volts to circuit breakers and other power equipment
    undergoing test. These tests are made intermitten~ly and personnel must
    be in the control room at time of test. Any burnouts that occur dissi-
    pate" fumes and g sea into the open high eeiling area above the test cell.
    In some instances an air line hose may be used to blowout fumes that
    still linger in the equipment tested. Under conditions of operation
    observed, there is no hazard"to personnel from inhalation of fumes or
    gases and installation of exhaust blowers is not considered necessary. (10)

               B. Industrial hygiene praetices were formulated for the
    fabrication of the lead shielding for the nuclear waste tanks aboard the
    USS FULTON (AS-II). These included ventilation, personal protective
    measures when necessary and good housekeeping.                           (11)

               9. Tricresyl Phosphate. An evaluation was made of the
    amount of tricresyl phosphate discharged by a vacu~m pu~p, evacuating
    the insulating void around liquid oxygen containers. In order to drive-
    off moisture from the void, gaseous nitrogen is fed to the tricresyl
    phosphate which is used 35 pump oil. This results in a mist analyzlng
    between 51 and 72 milligrams per cubic meter of cricresyl phosphate at (6)
    1 foot "downstream from the point of discharge. Recor.:mendations for exten-
    sion of the exhaust vent and/or provision of a mist eliminator have been


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    Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 6 of 41

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     made. A revaluation afte~ installation of an oil filter cartridge ele-
     ment resulted in a concentration of 1.1 milligram per cubic meter& An
     additional recommendation calls for a rev!sio~'of the procedure so as
     to eliminate any misting of tricresyl phosphate.                       (6)

               10. Inhalation. The use of ''Dion-Iso': polyesteE' resin was
    under study for possible use in the coating of exposed metal framing in
    plastic fair-waters. The use of this material introduce~ a ~~rious ~oten­
    tial hazard because of the presence of dimethylaniline/ik~fgal~re&~t8r
    t-1ith a threshold limit value of 5 pplll and can be readily absorbed   :.~
    through the intact skin. Skin, eyes, & clotblb~ shou~~~e'thorougbly'prote~­
    ed & water flushed ~hed contaminated. Clothing should be removed Bnd
    washed before reuse. Either adequate ventilation or ~espiratory protec-
    tion should be provided.                                                (19)

                11. Three men reported to the Dispensary for personal decon-
    tamination after having been accidentally sprayed with Phosphate Ester
    Fluids. A visit to the work site confirmed the belief that the exposure                    ;.
    experienced during this accident was negligible; however, it also indicat-
    ed the need for b~tter process Controls. It was evident that in spite of
    previous instructions, employees were not following the exposure control
    measures recommended. They were re-instructed in these measures which
    are as follows:

                      a.   In general, avoid skin contact and vapor, mist or
                           aerosol inhalation.

                      b.   {'lear protective gloves, face shields. and other
                           protective clothing, when indicated.

                      c.   Use catch pans, containing a small amount of lJater
                           t<lhenever possible. Empty these pans frequently.

                      d.   Clean up all spills promptly with soap and water.
                           Use a covered container for disposal of rass.

                      e.   Minor spills on the person should be cleaned immedi-
                           ately with soap and water. Employees hav1ng the
                           material sprayed in the eyes, mouta, or over large
                           portions of the body should report to the Dispensary
                           for decontamination.

                      f.   Hacbine parts should be cleaned thoroughly before
                           any maintenance involving burning is attempted, and
                           exhaust ventilation provided for such operations.   (2)

               12. hpproximately 200 pounds of pentaChlorophenol, a wood
    preservativ2 and insecticide, was sprayed in the basement of the Rope-        (8)

                                        -160-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 7 of 41




 Release No. 22
                                                  .    FOR OFFICIAL USE ONLY


 walk BuiLding by outside contractors. several days later Shipyard
 employees were found repairing sections of pipe in this area without
 benefit of respiratory protection. wearing of cbemical cartridge
 respirators was immediately required. Samples taken to determine the
 atmospheric' concentrations of pentachlorophenol showed amounts to
 0.036 miLligrams per cubic meter. Although this is less than the maximum
 allowable concentration. even a short exposure caused irritation of eyes
 acd mild headache, and thus redueed_ production efficiency. The area
 was posted with a ''Warning ll sign.                                     (8)

            13.   The recommendation that methyl chloroform be used 8S the
solvent to wipe hydrauUc flu.id stains from the walls of the missile
room aboard a guided missile cruiser was adopted and proved successful.
This cleaning procedure was prelimdnary to applying an epoxy resin to the
s~e surfaces.   For both the solvent cleaning aDd paint spraying opera-
tions, supply ventilation and respiratory equipment provided adequate
protection against the health hazards involved.                         (8)

           14. InorganiC Materials. Dust concentrations were measured
during application of DlBgnesia and "fiber glass lagging. The materials
are preformed to fit over pipe fixtures. During application in a con-
fined steam tunnel, magnesia dust was always in excess of 50 millioo
particles per cubic foot while fiber glass did not exceed five million.
Respiratory protection is mandatory for the magnesia. The fiber glass
is reported to cause itching, therefore skin covering has been suggested
(long sleeves, high collars, etc.).                                      (6)

            15. De-Oxalum. As preViously reported, De-oxalum is a pro-
prietary product used to clean aluminum prior to welding. The use of
this material originated with the Philadelphia Naval Shipyard. Further
investigation was requested by the Awards Committee at this activity.
Tests indicate that De-oxalum may Contain secondary but~ol in addition
to the butyl cellosolve and acidic component. It will decompose with
heat, forming "considerable sulfur dipxide. There have been some eo~
plaints of a tight feeling in the chest by personnel using this material.
This tends to confirm the presence of the alcohol since such complaints
are common when using the higher alcohols. Therefore, it was recommended
that, in addition to the eye protection specified, the material should
not be allowed to contact tbe skin, snd it should be used in a well-
ventilated area or with exhaust ventilation. Organic vapor cartridge
respirators may be necessary.                                           (4)

           16. Paint vapors. Investigation was made of a Beneficial
suggestion which advocated that hatches of freshly-painted compartment
be propped open about 3{4 of an inch to allow air circulation. At
present, freshly painted compartments are closed off and sealed.         (4)


                               -161-
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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 8 of 41




Release No. 22                                          FOR OFFICIAL USE ONLY


Oxygen in the compartment 1s depleted by the oXidation of" the paint.
carbon monoxide may be formed, end various contaminants are released
to the air in the form of solvent vapors, oxidation products. etc.
When entering these compartments there is usually considerable eye and
upper respiratory tract irritation. Directives require that tests must
be made by the Gas Free Engineer or his representative, and ventilation
utilized as necessary before entry into such a compartment can be _ . .-
effected. The amount of ventilation afforded by a 3/4 inch opening
produced by propping one end of a hatch cover open with a wood block
would be neglig~ble. Accordingly, the adoption of the suggestion was        (4)
not recommended.

           17.Follawing reeeipt of reports of the presence of benzol
in JP-4, samples were taken from ~ aircraft arriving for overhaul.
There was no benzol found in any fraction.                                  (15)

           18. A detailed industrial hygiene survey of Sbop 51 was
made. Some of the operations have v3ryl~g degrees of health hazards
associated with them.. Precautionary measures were recommended and
adopted on the following operations and areas:
                                                                                        r·
                 a.   Control of fumes and dust and handling chemicals
                      in Battery Repair Shop

                 b~   Removal of radioaetive markers

                 c.   Handling electric plastic sealing & insulating
                      compounds

                 d.   Handling- toxic chemicals in the Plating section

                 e.   Control of dust and solvent vapors in Motion
                      Picture Repair Sect.ion

                 f.   Control of fumes in Silver Soldering both,
                      ICE Section

                 g.   Installation of e,maust ventilation at buffing .and
                      grinding wheels, ICE Section

                 h.   Operation of Detrex Degreaser. ICE Section
                                                                                        ! .-
                 i.   Disposal of radioactive luminous paint,
                      Engraving Section

                 j.   Noise sound pressure levels and frequency analyses

                 k.   Labeling of hazardous chemical$ and materials         (10)

                                 -162-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 9 of 41




 Release No. 22                                       FOR OFFICIAL USE ONLY


            19. Several employees were having difficulty with fumes
 while burning out boiler tube. in a confined area aboard sbip. Two
 employees bad been overcome. CarbonmoDXide was suspected and on sampling,
 high concentratLons of carbon monoxide were found. A discussion was held
 at a shop supervisors meeting. on the above hazard. They were instructed
 in the effects of carbon monoxide and reminded of the need of adequate        i··
 ventilation during burning operations.                                  (3)   i.·
           20. Carbon Monoxide. An exbaust fume problem in a large
aircraft aS3embly building was partially resolved when two large capacity
diesel power units were installed in ~e outside of the building to supply
electric power to two production lines. Prior to this, as many as 4 gaso-
line-driven auxiliary power units had to be used at each aircraft because
of insufficient electrical capacity of tbe building. Under those condi-
tions, concentrations of carbon monoxide approaching or exceeding the
MAC were frequently encountered.                                        (6)

            21. An investigation was made to determine the carbon
 dioxide hazard from a aew 35 cubic foot dry ice storage tank located
in a laTge industrial work room. tbe tank was open at the top with a
beavy insulated blanket covering the dry ice. Although the carbon
dioxide concentration within the tank was over 25% with the blanket
removed,. it was never above O.5'%. at the breathin8 level 1 foot above
the tank and general roan ventilatioa was sufficient to maintain the
carbon dioxide concentration of the room air within permissible limits.
It was recommended that long handled tongs be provided and used for the
removal of the blocks of dry ice, thus eltminating the possibility of
anyone reaching or ~limbing into the tank.                              (9)

           22. Employees using teflon coated electronic wire questioned
the plastic as a source of throat irritation resulting from solder
operations. Due to the size of wire, type of operation, and materials
used no hazard could be found in the operation.                         (15)

           23. While welding on its exterior hull no fume generation
was noted to occur within a saran-coated gasoline tank aboard an AO.
Heat from the welding of outside Tivet-heads did not appreciably pene-
trate through tbe two 3/4 inch plates to cause decomposition of the
saran resin.                                                             (8)

           24. Carbon dioxide shielded welding. Further tests were
made of inert gas shielded electrode welding utilizing carbon dioxide
gas as the shield. Tests were made While repairing a defective casting
under a portable canopy in a dry dock. No positive ventilation was used.
Natural ventilation was good. The Draeger test for oxides of nitrogen (4)
indicated a trace. Carbon monoxide was negative, except over the head

                                 -163-
  Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 10 of 41




                                                             ,...
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 of the welder in the smoke plume (100 parts per million). T"he welder wore
 an air-supplied sock hood~ His protection was considered adequate. In
 this connection investigation was made of a Beneficial Suggestion advocat-
 ing a long linear (about 2 inches by 30 inches) exhuast hood for welding
 with carboa dioxide shielded area. It waa pOinted out that this would
 be effective only for a linear wald and in no case would it prevent ex-
 posure to ozone which is formed, not only at the arc; but several feet
 distant from the arc by the action of the intense ultra violet radiation.
 The principle of low velocity-~18h volume air movement as suggested was
 correct. It was recommended that a square or rectBngular hood be
 utilized.                                                               (4)

           25. Welding within a lower deck compartment aboard a
 destroyer was stopped when a heavy concentration of xylene vapors was
 found constituting a health and fire hazard. Temporary exhaust ventila-
 tion which had been installed during the spray painting of an adjacent
 ammunition storage compartment had been removed before sufficient dry-
 ing Bnd to exhaust solvent vapors.                                     (8)

          26. Investigat.ion of a number of eye "flash u burns to
welders working on the inert-gas metal arc process sho~ed that welders
were not wearing protective sideshields on their safety glasses and"as
a result did not have adequate protection against the scattered ultra-
Violet radiation given off by other arcs in the work area. The need
for this sideshield protection is emphasized by the increased number
of "flashes" reported to the Dispensary, particularly in confined areas
where welders are working in close proxi~ity to each other. As a cor-
rective measure it has been recommended that welders have their safety
glasses, worn under their hoods, equipped with sideshields. This
applies to both prescription and non-prescription safety glasses.       (9)

              27. Shop 11-26 recently began an extensive aluminum
welding project using aluminum alloy No. 55-56 containing 5% magnesium.
Sixty-one S, (615) ," aluminum alloy containing about 1% magnesium was
former"ty used. The employees noted: (a) an" increase in fumes, both by
odor and vision; (b) a different light glow from the arci (c) spGrks
on clee-ning a ~hot ,...aided at'ea with a wire brush; (d) eryclLecw ani:!.
burning of ~e skin. Tb..c major health haz:ards MBoc-1ated with this weld-
ing process are oaC:n8 gas e..Qo Dltrllvi.oLot: "r~io.o.. Ozoue g.aa causes nose
ond "·throat ir~tioQ and 1\JQ8 cocQestioo.. It Csn be extremely ~dous
il:: Qon.fl:o~d czeas. Ultraviolet radiallicR causes skiu ... burll8 &: visible l!ght
int~~si~y is also increase~ in this ~elding process.


          The same health hazards exist with each of the above alloys.
OIl a comparative study, using an Ultraviolet Photometer, the ozone    (3)


                                       -164-
 Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 11 of 41




Release No. 22                                               FOR OFFICIAL USE ONLY

 concentration appeared to be increased with the 55 a 56 alloy. !he increasad
 light intensity and sparks are dUB to tba increased magnesium cOntent. The
 following recom'llendations were. msde: Ca) the instructions given in BuShips
 Instruction 6~.b')~4, of 10 september 1958 should be followed; (b) cover all
 exposed skir. &.~rfaee of the welder; "(e) personnel ;with exposed body surfaces
 should not remain in the vicinity of the direct light rays; (d) use a No. 12
 glass in the face shield; (e) welding should be performed only with adequate
 ventilation; and (f) ventilation should be supplemented with air supply res-
 pirators if necessary.                                                     (3)

            28 .. " 1"~od Preservative. Pentachlorophenol - Painters in the
Material Laboratory will use this paint on tbe roof of the building. The
cognizant supervision was advised that skin contact with, or inhalation or           i"
vapors from, this preservative should be avoided by the use of suitable pro-
tecti~T~ clothing and equipment.                                            (10)

      B.   Health   P.azar~o   Due to Contaet with Skin

           1. E:;periments Q'ere recently conducted in the Shipyard in the"          ,j"-
application of I007~ reactive epoxy coatings. The unusual feat~res of the
coatings are the sbsence of solvents and the use of diethylamine triamine
adduct for the" hardener. The adduct is made by reacting the diethylamine
triamine with some of the resin which results in a faster curing rate. This
should help to lower the vapor concentrations and reportedly results in a
reduced skin~irritant potential.                                         (19)

            2. Two welders have developed rather severe dermatosis of
both hands with what appears to be sensitization to chrome leather welding
gloves. Standard stoek unlined welding gloves have been used for a long
period of time without difficulty. At present both employees are ~learing
cotton work "gloves under asbestos mittens with good results. As soon as
these skin conditions clear the use of lined welding gloves will be given
a trial.                                                                 (9)
           3. Five employees using "Clarco" disinfectant for cleaning
floors were affected by skin irritation, one severe enough to require
treatment by a physician. The disinfectant is reported to contain isopro-
panol and chlorophenyl-phenol soap~ Patch tests with the material indicate
it to be a primary irritact in the reccmmended dilution, possible because
of unreacted phenol. The use of disinfecta-~t has been discontinued.    (19)

           4. A few cases of dermatitis have occurred during the quarter,
some of which were traceable to possible cross-infection snd others to
personnel allergies or nervoUs cDncitions. The cross-infection occurred
in a group of assemblers working on a single aircraft and forced into very (4)
                                             -            ....--......
close quarters. One of the cre~., had a previous bisto):y of skin irritations
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                                        -155-
                              \.
  Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 12 of 41




 Release No. 22                                         FOR OFFICIAL USE ONLY


 or infections and observed poor stancards of parson& hygiene. It was
 significant that all other members of his c.rew excepting a part-time tvork.er
acquired similar conditions, tuo of them beiog severe enough to be treated
at the Dispen~~~y. Another case of allergic origin resulted in persistent
skin irritaticr~ whenever the patient approacbed her regular working eaviroa-
ment. A study of the materials handled failed to reveal any primary irritant.
Employee was given leave for alleviation of her condition and the medical
officer will see to reassigning her to a different type of enviro~ent. (6)

              5. Three men reported to the Dispensary compLaining of a burn-
ing sensation CD their hands experienced as a result of contacting a fluid
while working o~'an oKygen generator being prepared for shipboard installa~
tion. It was immediately determined that this fluid was a concentrated
solut::i.on of potassium hydroxide leaking from a Une and there was no
wanti:-.'J plaque on the machine. It lies further deteradned that this machine
had b~~n received containing potassium hydroxide and inadvertently stored
on its side. Harning signs were posted, the machine cleaned, and it was
suggested that the manufacturer be contected in order to prevent future
incidents.                                                                 (2)

           6. IV. group of sailors were,becoming "sunburned ll after cleaning
salt water voids aboard ship. These voids are painted with bituminous
paints as a rust preventive. This paint is a type of asphalt coal tar
pitch. The photosensitizing effect of this paint is commonly known in
shipyards. Detailed information on the subject is found in "Occupations I
Diseases of the Skin", by Schwartz, Tulipan and Peck.                      (3)

           7. Two cases of apparent sensitization to epoxy resin (Palmer)
were reported during tbe quarter. A dermatitis of the hands and forearms
appeared after only a few hours of resin application to a propeller shaft.
Full protective clothing, including rubber gloves , was t...orn. A similar
operation conducted approximately 3 montbs earlier resulted in hand and
forearm dermatitis in the same individuals during the third ~eek of han-
dling the Palmer resin. It was recommended that the men involved not be
assigned to future epoxy jobs.                                             (13)

               8. Several employees froc one of our shops used benzene to
clean Mine Sweep cables before patching. The procedure used was to soak
a cloth t... ith the solvent and wipe the area to be patched. This material is
extremely flammable and the vapor is very toxic. Chronic poisoning can
result from daily exposure over prolonged periods. Its use can cause an           t···
irritation of the skin due to defatting effort. Chronic poisoning can
also result through skin absorption. It was recommended that persoDneL be
cautioned to prevent inhalation of the vapor and to be required to ~ear
rubber gloves whi1e using this material.                                   (3)


                                   -166-
  Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 13 of 41




 Release No. 22                                        FOR OFFICIAL USE ONLY

             9. A painter developed an erythema~ous area after spraying
 IIkomul", a bitumastic paint. The paint cODtain8 coal tar and a tar dis-
 tillates that photosensitize the skin. the painter did not use protective
 cream and thereby became sunburned _baa ~. &kin was exposed after painting.
 The use of proper protective creema    va.
                                         sulgested for all pSinters spray-
 ing resins.

             10. A joiner applying-an epoxy resin deck coating has developed
 a sensitivity to this resin.  Employee wore rubber gloves and used protec-
 tive cream on his bands; both arma were affected as well as small areas on
 one leg and one ankle. This employee was recently transferred hare arid_gave
 a history of previous sensitization to epoxy resins. He has been assigned
 to other duties to avoid contact with uncured epoxy resins.             (9)

           11. A mixture of kerosene, white lead and trichloroethylene
was renorted to have caused a mild d~titis on the hands of a machine
shop e~ployee. This mixture, used in a steel cutting process, was said
to be necessary for this work and further, that direct hand contact, with-
out gloves~ vas unavoidable. A recommendation that methyl chloroform be
substituted for the trichloroethylene ana that a protective hand cream
be used, was accepted.                                                  (8)

            12. Five cases of dermatitis occurred during the application
of epoxy resins. Investigation revealed that in four cases there was a
disregard of the health procedures established for handling of epoxy resins.
The other employee was found to have been sensitized to the resin and was
removed from further eKposure. The remaining four cases were given treat-
ment and additional indoctrination.                                      (11)

II.   Physical Health Hazards

      A.   Exposure to Excessive Heat

            1. A study was made of the upper sectiOnS of the Machine Shop
to determine temperature and humidity conditions existing during the summer
months. Although the results did not indicate serious adversity recommenda-
tions were made to improve working conditions to maintain prodUction
efficiency.                                                             (8)

      B.   Exposure to Nonionizing Radiation Hazards

           1. During this quarter the nuclear reactor of SSGN-587.
USS HALIBUT. was brought to initial criticality and the reactor and
associated systems were successfully tested at all power levels. No
unusual or severe health physics problems developed. None of the workers
acquired more than a minimal exposure to ionizing radiation.          (2)

                                     -167- .
  Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 14 of 41




 Rele'ase No. 22                                       FOR OFFICIAL USE ONLY

             2. Mierowaves. Under the provisions of a BUMed Instruction
 requesting eye examinations of radar employees, all the personnel in tbe
 radar shop were so examined. rwo (2) employees were found with abnormali·
 ties; one (1) sholved cataracts of both eyes which may have been orginally
 produced prior :;0 his employment at this Station, hotJever, be indicated
 previous experience as a radioman in the U. S. Navy; the other showed cer-
 tain opacities of senile character. A survey of their work areas vitb a
 germanium diode tester indicated microwave intensities in the order of 0.001
 to 0.004 watts per square centimeter during operation of a powerful radar
 set in a separate area of the shop. Both employees were transferred to
 "cooler" areas of the shop and were further shielded with metallic partitions
 resulting in no reading in the detector.

             Stray radiations were found in the radar shop as indicated in
 the pa~agraph above. These ~ere judged to be within the accepted limits
 of mic=owave eKposure and resulted from reflections or refractions of
 microtJave beams directed to outside targets through glass windows. Struc·
 tural members of the buil~ing caused some of these rays to bounce back.
 Recoumendations have been made to install absorbing screens around radar
 antennas in such orientation as to prevent the bounce-back effect.       (6)

            3. As a practical safeguard to avoid excessive exposure to
 radar waves, Neon Lights (N. E. 51, Stock OGF. 6240.223-9100) are being
 used. These neon lights will glow when eKposed to microwaves producing
 approKimate energy of 5 or 6 milliwatts per square centimeter which are
 below the threshold limit of 10 m111iwatts per square centiQeter.       (20)

            4. Radar Hodulator Unit An-SPS-29, containing high voltage
 Thyratron Tubes (12 kvp), was monitored aboard the USS'MANLY for presence
 of x-radiation. Readings were taken using I'Cutie Pie" ionization chamber
 encased in a "cage" covered by a double-thickness aluminum screen to pre-
vent RF interferences. Readings in the compartment and in front of the
 modulator unit with doors open were less than Imr/hr. Film badges placed
 on the inside of door paneis and OD one operator represented 6-8 hours
 eKposure, film badge (duPont 552 packe~) readings were negative.
                                                    able
            5.   Since instrumentation is not avail/to continuously monitor
 the area in the vicinity of the antenna where shipyard cranes are required
 to opera~e, i~ is desirable to provide these crane operators with a quali-
 tative meas~ring device that will show the presence of microwave radiation
 in the energy range that may constitute a health hazard for continuous
 exposure,
                                                                            (12)
            It is knotJn that miniature neon lamps, such as the GE series
NE-51 will glow in the presence of radar microwaves in this energy range.
I~ is recorrmended tha~ they be in$talled against the outside front glass
 Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 15 of 41




 Release No. 22                                        OFFICIAL USB ONLY

 window of the cab in full view of the    op~rator.                        (12)

       c.   ~ure     to Excessive Noise

            1. Acousticel measurements on several hydraulic test benches
 indicate that g20erally ear protection is needed by the operators of such
 equipment. The noise exhibits one or more peaks in some octave bands which       ,.
 indicates that either pure tones or narrow frequency ranges exist and thus
 render the noise more hazardous. For inatance. a bench with a measured
 level of 98 decibels has a hazard equivalent to 108 deeibel level. It is
 felt that ~earing of ear plugs is advisable for most of tbe personnel in the
 vicinity of these benches and it is mandatory for the operators. This situs.
 tioD presents a difficult enforcement problem and is best solved by installa-
 tion of acoustical shields when funds will be available.                (5)
                                                                                  ..
                                                                                  '

           2. Under the hearing conservation program it is intended to have
information on the hearing of every industrially employed person. OVerall
audiometric surveys of large segments of the Station conducted aD a divisionw
wide basis have been initiated. Tbree divisions have been completed with
another one in process.                                                 (6)

           3. Measurements were made in the metal building at the 06R
Jet test Cell Area. Employees inSide the building complained of vibrations
in the chest as a result of the operations. The noises were not found to
be exceSSively higb for operations of this type. Personnel were informed
the vibrations are not injurious and ear defenders are required during the
operation.                                                              (15)
           4. Modification of an eXisting test cell to accommodate the
J·57 engine with afterburne~ was completed recently. An evaluation of
sound attenuation was made by Sound Control Incorporated; sound ~eduction
was not acceptable. Design of the engine support was such that the engine
exhaust was approximately 10 feet from the attenuator inlet. Modification
is in progress to permit operation essentially as designed.             (16)

           5. Preliminary checking on the effectiveness of a (Haxim Div.
of Emert Company), portable sound attenuating device was done utilizing
the A4D~1 aircraft (J-65 engine). It was found that sound intensity was
increased forward and tbe side;and decreased aft of the muffling device.
Tail pipe temperature was elevated about 12 0 probably because of back
pressure built up by entry resistance. Alignment was imperfect (inherently
so with this attenuator and the A4D) and the attenuator entry grill is of
significant area with a consequent build-up of temperature. Indications
are that portable mufflers or attenuato~s of this design are not usable
withhout considerable modification.                                      (16)

                                    -169-
                                                                                                 \
        Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 16 of 41




         Release No. 22                                              FOR OFFICIAL   US~   ONLY


                     6~  A noise atudy l.73S conducted at the Ground Control Approach
         Facility located near the intersection of the two main runways in the
         direct path of noise produced in the flight test line, 1500 feet away. A
         continuous r'~ccrding indicated a weighted average overall noise of 92
         decibels Wit:l peaks varying from 108 to 117 decibels. The 20 military
         persons attached to that facility have been included in tbe audiometric
         program and hearing protection bas been recommended.                       (6)

                      7. Several estimates were made of the expected freewfiedl
        noise produced by the Regulus II missile utilizing data issued by the
        manufacturer of other naval sources. It was concluded that noise of the
        order to 150 decibels may be encountered in areas where personnel will
        have to perform certain adjustments. Recommendations l,mre made to add
        wat·.r:- cooling to a standard portable aircraft exhaust muffler, so as to
        enal, ~e afterburner runs exceeding the capability of the muffler. Actual
        noise readings of the Regulus II made subsequently at Point Mugu indicated
        the noise to be of the 140 decibel intensity.                              (6)

                     6. An attenuation pad consisting of a length of cable and
        tye plugs to be inserted in the corresponding sockets of a sound level
        meter tllas manufactured with the assistance of the Navy Electronics
        Laboratory, Ssn Diego. The device provides 30 decibels attenuation
        thus extending the range of the sound level meter to 170 decibels.                 (6)

              D.   Illumination Problems

                    1. Due to complaints of excess glare from military personnel
        a survey was made of an office located on an outlying field. Lighting is
        furnished by overhead fluorescent 'fixtures equipped "'ith diffusers and
        furnishin& a minimum of 30-40 f.c. of light on the ~orking surfaces. The
        walls are pilinted a cream-yellow. York in the office is done on yellow
        cards and visual difficulty is encountered due to poor contrast. In
        order to reduce glare it was suggested that the walls be painted with
        a dull finish, light green ·paint.                                       (15)

                   2. A program for the relamping of certain production areas
        has been initi"lted. A survey tllas recently completed in the secood floor
        of an industrial building where light levels were low, requiring consid-
        erable amount of auxiliary lights. At this time the general level of
        illumination was found to be in excess of 50 footc~d:cBQ Because of
        the extremely high visual demands of certain operations many of the
        auxiliary lights were recommended to be retained to yield levels in the
        100-200 footcandles suggested by the Illuminating Engineering Society
        for similar tasks.                                                         (6)

                      3.      Glare frcm Fluorescent Red Orange Paint, Color 633, Hi- (20)
        Visibility,    ~JBS    resopnsible for eye fatigue among several of the 30 spray

                                                 -170-




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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 17 of 41




 Release No.. 22                                              FOR OFFICIAL USE ONLy


 painters usins this type paint. Tinted glass protective eyewear was
 recommended as suggested by BUMed and BuAer. Personnel also complained
 that difficulty was experienced in re~ov1ng the fluorescent paint from
 the skin. Pr.·. t:ective skin cream. (IJly 12) and SBS '3D waterless skin
 cleanser wer~ recommended and used with good ~esults.                     (20)          ! ..

                 4. Large grinding machines are located on the bangar decks of
 carriers undergoing conversion. The illumination appeared inadequate.
Measurements were taken of the illumination furnished by the lights loca-
 located on the grinding wheel shield. the intensities on the tool rest
ranged from 20 .. tf·. i;oc.l:c.::n(i:.!!;, apparently depending on the type of bulb
 installed. With the grinder lights turned off. no detectable reading
could be obtained on the light meter. indicating that general illumination
was practically non-existent. This created a hazard because it is
req'.\:! ::-ed that· lights be turned off when the machine is not in use. A
per~~n approaching the machine could not tell whether the grinding wheel
was still roeatlcg from previous use or Dot. the latest recommended
illumination intensity for rough rinding is 100 footcandles to be fur~
nished by combination of general and supplemental illumination. It was
therefore recommended that the bulbs installed on the grinding machines
be of a type to furnish a maximum possible illumination and that general
illumination in the area be provided at a level of at least· 30 and prei-
e.rb1y . 50 footcendles.                                                           (4)

III.   Ionizing Radiation Health Hazards



            1. A survey {-las oa de t.o determine the radiation level in
unrestricted areas in the Mat.erial Laboratory around Radiographic Room
#310. Radiation 1eve1G were measured during lead camera type and open
source exposures using a 500 mg. radium source. Lead shielding was
varied to determine the reduction in radiation levels obtained by the
use of various types of lead shielding. Dat.a obtained from the survey (10)
disclosed t.he following:

                 a. Camera type Exposures. The maximum radiation levels
recorded in the unrest.rtct.ed areas was 0.28 mr/hr with the camera elevated
at. IS inches above the floor. The camera was shielded on ~he bottom at
floor level wit.h l2 x 16 inch area of 2 inch t~ick lead bricks and with
a 4x8x2 inch lead brick on top_

                   b.   Open Source Exposure.

                         (l)   The maximum radiation levels recorded in the

                                      -171-




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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 18 of 41




 Release No. 22                                              FOR OFFICIAL USE ONLY

unrr:?:stricted areas ~lerr:?: 5.0 mr/hr ... ith tha source 15 inches ·'above the floor
and shielded by an area of 12x16 inches of 2 inch lead bricks on the floor
.directly below the source and 2n area of IOxiO inches of 2 inch lead bricks
15 inches above the source. This shielding is understood to be standard
practice.

                      (2) Measurements made after adding l~ inch thick-
 ness of lead covering an area of 5x5 feet under the 12x16x2 inch lead
 shield resulted in a maximum recorded level of 1.1 mr/hr in the second
 floor area directly below the source. tbis is the same location where
 the 5.0 mr/hr reading had been previously obtained.

            The results obtained from this survey indicate that it is
 permissible to use the camera type of exposure at aoy time of the day
 sin~~ the shielding provided attenuates the radiation level to a value
 bele~ 2 mr/hr in unrestricted areas as required by the Atomic Energy
Co~ission.    In regard to the opeo source exposure, tbis type of
operation is permitted only during off hours providing shielding as
indieated in subparagraph b (2) above, adequate portable panel shields
installed between the source and the Dorth, west, and east walls of Room
#310 and adequate shields above the souree are maintained. This shield-
ing is required to retain the lIunrestricted" ratings of other areas around
Roam 0310. In regards to the shielding required above the source, it is
considered that an additional %inch thickness of lead used together with
the 2 incb bricks presently employed will assure compliance with the
Atomic Energy Ccrmnission regulations. It wa-.s understood that a new
method of shielding will be provided in the near future. This shielding
will be placed closer to the source. The ef~ect of the new type of
shielding will be surveyed and if found satisfactory will then be used
as standard in open source exposures. Ie was recommended that super-
visory personnel check and approve the appli.cation of shielding prior to
exposing the various sources to assure maximum safety of laboratory
personnel.                                                                (10)

                 2.. This office assisted Code 74 of Bu}I[ed in exposing
film badges to AN/SPS-3A and Mark-2S radar scopes. Duplicate film packets
on the AN/sPS-8A eX;l0sures l~ere fOr1"arded to the Commanding Officer,
Naval Medical Research Laboratory, Bethesda, Maryland. Dosage recorded
on duPont 552 film was not deteetable even on film placed on the antenna
for 15 minutes. Pocket dosimeters (lM-9D/FD-ZOO mr scale) were placed
in all locations for the same time interval; no dosages (less than 1 mr)
were observed.                                                           (12)

                3. RadiQactive Luminous Paint Containing Radium Salts.
Radioactive luminous paint has been used by the Engraving Section of
Shop 51 to paint numbers on tele~hone dials. S!nce this paint is no
longer used the Shop on recQ[I'..-:'llmdation of the Medical Department dis-    (10)
posed of it through an Ato'-L.~c J:;nergy CQ;.;rnis~!on approved waste disposal

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     Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 19 of 41

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        concern. Measurements with radiae set AN/PDR-21 revealed traces of radio-
        active residues where parts had been stored, mixed or used. All areas
        '{...here contamination was found were wiped by an employee wearing rubber
         gloves, usinci small squares of cloch wett&d with a wash solution contain-
         ing a deterg~~t and chelating agent, Versene. More stubborn areas were
        scrubbed with a I-inch &qua~e brush and tben wiped repeatedly. Some
        areas, such 85 those on porous wood which could not be cleaned as above
        were removed by sawing away around that area and removing that seetion of
        wood. 'This procedure was also followed in the case of a linoleum-topped
        table and a masonite covered work bench. All Cloth used, brush, sawed-
        off pieces and rubber gloves were collected in a plastic bag and disposed
        of in a radioactive disposal can in an· unfrequented open area to awaie
        removal by a disposal contractor. All areas were cleaned until the read-
        ing was less than 0.05 mr/hr and 8 wipe test using damp filter paper
        shot"l'd no removal of radioactivity from the surface.

             It was recommended that radioactive material, chemicals or paints
       should not be used until the Industrial Hygiene Division has investigated
       proposed use and recommended control measures necessary to miDim1~e ex-
       posure of personnel and contamination of work areas.                    (10)

                  4, Colbalt 60. Cesium 137 and Radium 226. New carrying
       cases are being built for the radioisotopes used for shipboard radiography.
       these are designed to conform with U. S. Atomic Energy Commission, ABCU-
       2967 Radiation Safety iu Industrial Radiography with P.adioisotopes. This
       specified that the level of radiation from gamma emitters should not
       exceed 200 mr/br at the surface of the outsdie of the container and/or
       10 mr/hr at a distan~e of one meter from the source. One carrying case
       built to carry 2,000 millicuries of cesium 137 has been completed and was
       checked for compliance with the requirement. A Gamma meter read 200·mr/hr
       ae the surface of the container. As other containers are built they
       will also be checked for conformance with AE~U-2961.                     (1)

                  5. Pia conium 239. A barge used for the disposal of radio-
       active waste at sea became contaminated from a leaking container. A cement
       block approximately 4 feet square and 8 feet long was delivered by truck
       to the enclosure reserved for the storage of radioactive waste. Soluble
       plutonium apparently percolated-through the cement, contaminating the
       truCk bed and eventually the barge.                    .

                   A survey of the 5 hopper areas of the barge was made to deter-
       mine the extent of contamination. The contaminated barge areas were
       heavily rusted. t~hen taking samples it was noted that surface readings
       were reduced about ten times by scraping with paint scrapers. Total con-
       tamination uas estimated to be about 100 microcuries located for the roost
       part in- two of the five hoppers.                                        (1)

                                        -173-
                                                                                    \
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 20 of 41




 Release No. 22.                                          FOR OFFICIAL USE ONLY

                      Decontamination of the mos t highly contaminated sress by
 scraping appeared to be possible. A vacuum cleaner was designed and
 built from co~erc1al vacuum cleaner parts and sheet metal. A second
 vacuum c~ea!.~::' ..,a3 borrowed from the Naval Radiation Defense Laboratory.
 The ,t'ilte,ls :.::astalled were capable of filtering out particles down to
 0.3 microns in diameter.

            The barge was drydocked and allowed to dry out.      Areas of
 contamination i~ excess of 500 dIm/ISO square feet were outlined with
 chalk. Heavy Kraft paper vas laid over tbe bottoms of the hoppers and
 secured to the edges with pressure sensitive tape. The marked areas were
 scraped a square ~oot at a time. The scraped surfaces and the surface of
 the Kraft paper were then cleaned with the vacuum eleaners. Occasional
 slifht contamination was found on the booties worn by personnel entering
 thE: !toppers.

                 All personnel entering the hoppers were required to
wear Scott Pressure-Demand air supplied respirators. These respirators
were found to be excellent for both protection and comfort.

                After the highly contaminated areas were decontaminated
the hoppers were wet sandblasted. Air contamination during sandblasGing
was well within the maximum permissible concentration for airborn
plutonium.

                A complete report can be obtaiued by writing tbe Indus-
trial Hygienist of the Command.                                         (1)


           6. A radiologici31 environmental survey has been initiated in
order to establish the background levels in the Pearl Harbor area.
Samples of air, potable water, harbor water, soil, vegetation, and harbor
mud, are collected periodically and examined for gross beta activity.
The frequency of sampling has been limited by the lack of adequate per-
sonnel and equipment, but it is expected that these deficiencies will be
corrected within the near future.                                        (19)

          7. A group of 10 Passive Defense trainees were engaged in
certain exercises involving isotope handling. Photodosimetry indicated (6)
total cKposures varying from 0 to 0.02 milliroentgens.

       a •.Because of the very infrequent use of the Radium Painting                    i
room, ie was planned to make that area available to an instrument shop        (6)       i
and to remove or tie-up part of the present exhaust ventilation system

                                  -174-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 21 of 41




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 to the instrument shop ventilation which will operate with a large degree
 of recirculation. This proposal bas been- strongly opposed because of the
 possibility of disemlnating residues that may exist in the present system
 and becausa there is still De&d tor limited radium handliag facilities. (6)

       B.    X-Rays

            1. TeD (10) film badges were given varied exposures to a
 known amount of x-ray~radiatioD using an AN/PDR 2 radlac set. On develop·
 ing and reading the film badges the error was found to be about 10% on
 the high safe side. This was probably due to using' exposure graft No.
 B 552-180 witb fiLm No. B 552-205. This information was discussed with
 the Industrial X-ray Technicians. They appear to have an iacreased COQ-
 fidence in their film bad8e radiation exposure results.                 (3)

       C.   Alpha Particles

      D.    Gamma Particles
           1. During trial operation of ANSPS/29 radar unit aboard ship,
film badges were posted on and around the power components, as well as
OD Electronic Sbip personnel working in the area as a protective measure
against the possible over exposure to X-- radiation. F~.lms evaluated
after 2 to 3 bours of exposure revealed little or no density readings
above control films. while film exposed for approximately 40 hours indi-
cated up to 0.03 roentgens of x-- radiation.                             (8)

      E.    Isotopes

           1. This shipyard became aware that"under the Atomic Energy
Commission license for operating the various radioactive isotopes, the
disposal of low level wastes even if performed in accordance with NAVMED
P-1325 is a violation of Title 10 of the Federal Register (Chapter 1,
Part 20). Consequently this office recommended the contracting of an
AEC authorized contractor for disposing of this waste. It is believed
that the contractor, Nuclear Engineering Corporation, Kearney, New Jersey,
is performing a function more expeditiously and economically than has been
done in accordance with Bureau directives.                               (12)

      F.    Radioactive Waste Material

           1. Because of security requirements, the preVious radiological
disposal area had to be relocated at a point beyond certain distance from
a classified installation. The new area to,a!! cleared of underbrush, sur-
rounded by a Nire fence and a pad~locked gate and will enclose the
reinforced concrete cylinders phere radioactive waste material is deposited
for final cement sealing and ocean disposal. Since the pre~ious area       (6)

                                  -175-
 Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 22 of 41




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 was active from the time ~e liquid wastes were disposed, ~~ery small
 leve1 of ground contamination exists •. Thereforepit waBprecommended that
 the previous area be left 8S is, without access to any unauthorized person,
 and that it be permanently charted as contaminated in all future condition
 maps. Two (2) employees are currently collecting and disposing of radio-
 active Y8ste material, mostly electronic tubes. Their photodosimetry was
 normal~                                                                  (6).

 IV.    Shipboard Industrial Hygiene Surveys and Investigations

         A.     Surveys

             1. A ventilation survey was made on a ship under conversion.
Readings from a number of 5 inch flexible tubes indicated an average venti-
la~~~n rate of 456 cfiD.   The method used to obtain this ventilation Tate
mE.:' be of geneTsl interest. Seven (7) platforms are installed along the
hull at the thir~ deck level to hold the ventilation machinery. Holes for
16 iach ventilatioQ ducts are cut in the hull of the ship. These are
joined to vertical 16 inch ducts which extend from the main deck to the          i
                                                                                     0
tank tops. Each level has four to six branches as required for attaching         1
the 5 inch ventilation tubing. The system was designed so that any part
of the ship could be reached with 60 feet of 57. ventilation tubing.      (1)

v~     Substitution of Toxic Solvents by Less Toxic Material

VI.    1f£lli
          This section ~ill include items of interest ranging from the
scientific to the social aspects of the Occupational Health Program.

        A.    Miscellaneous

           1. Investigation of contamination of Liquid Oxygen (aver
30 ppm CH4) revealed that the Samplers weTe contaminated with CH4, C02
and H20 as analyzed with the Beckman Infrared Spectorphotorneter IR4.
After proper purging no contamination was found in the samplers. The
Samplers were procuTed from the Naval Air Station, Alameda~ in a con-
taminated state. BuAer uas notified to alert other activities that might
have received the same lot of Samplers~                                (20)

           2. A consideTable part of the Industrial Hygienist's time,
in addition to their most important function (to evaluate environmental
occupational health hazaTds and recommend engineering and personal control
measures for the prevention of illness and absenteeism), is occupied in
investigating conditions alleged to be uncomfortable or health hazardous~
These investigations are important. They ofte~ resule in preventing     (IS)

                                  -176-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 23 of 41

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 unjust compensation claims by producing facts substantiating the lack of
 basis for a complaint. In practically all instances these investigations
 of complaints or alleged health hazards reault in alleviating fear of
 employees a~d thus contributes to production efficiency and morale.
 Follot.,ing is an example. of such an investigation:                                               ,i·'
           A crystal etching shop (ammonium bifluoride solution) has
ceased operations and the work space has been used by an electronics
shop for a number of months. Several employees complained of nausea on
a Saturday following a routine ~ork week. The area was cleaned before
operations transferred and only the sinks are in place. No complaints of
this type had been made during the pre.vious years the shop t.,as used.
Personnel were informed symptoms could not be caused by hazardous condi~
tions in the shop.                                                       (15)

           3. Enlisted personnel    aboard the Norfolk Reserve Fleet became
intoxicated due to lack of proper   protective equipment while spraying.
Proper protection snd ventilation   requirements were enumerated to the
personnel in orde~ to preveot the   condition recurring.

           4     The Gyro-C~mpasa Shop was razed in a beautification
progrBm. lV'hile most of the rubble 1.,a5 still on the site, the area. was
monitored for mercu~y vapor in the air. The air concentrations ranged
from .0 to 0.4 mg/m using a Kruger Mercury Vapor Detector Model #23.
Chemical analysis of the dirt in the building revealed only mi.cro quan-
tities present. Years ago the building had been used to manufacture
antifouling pain~ ~hen mercury oxide was a co~mon ingredient: in that
paint. After clearing the area and leveling the ground, dirt samples
showed no mercury nor was there any air concentrations in the air oon- .
centrations in the area. A Beneficial Suggestion recommending that the
demolished building material be speCially handled due to the mercury
hazard was returned disapproved.                                           (12)
           5. Malfunctiooing of sensitive guidance instruments has been
attributed to t:he presence of dust particles in the system. Because the
presence of particulate matter In atmosphere is one of the possible sources
of these particles industrial hygiene methods were used to determine the
dustiness of the air in a new, air conditioned, instrument shop. ~he
dust counts ranged from .75 to 2.5 million particles per cubic foot of
air. The dust electrostatically precipieated on a hemocytometer cell
ranged in size from submicron particles to pieces as large as 500 microns.
These values are far in excess of the criteria for the instrument shop
which specify less than 0.25 million particles per eubic fooe of air
with the particlos not to exceeG 0.3 microns in size. ~his excessive
dust loading is, of cou~se~ not significant in terms of 4 health hazard,
but is tremendously important in terms of the integrity of the aircraft (5)


                                  ~177-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 24 of 41




 Release   NOa   22                                       FOR OFFICIAL USE ONLY

 instruments or of guidance systems. Thus, by applying standard industrial
 hygiene methodology it was possible to locate the dust sources within the
 shop, as well as other channels of entry and to make recorrmendations for
 changes in work methods, relocation of potentially dusty or particle gen-
 erating procgsses, improvements in the air cleaning systems, etc., which
 Hill result in the eventual control of this problem..                     (5)

               5. Urinary leads were performed on a weekly basis for a
group of men cleaning gasoline tanks on an outlying island. This labora-
tory work t... as consiciered highly desirable because of the occurrence of
several cases of lead poisoning on the previous occasion when these tanks
were cleaned. Samples were shipped by air in polyethylene bottles and
arrived without spillage or leakage. All lead values \-lere l-lithin normal
limits, and no symptoms of lead poisoning developed during or after the
tau!-:-cleaning job.                                                        (19)    --
           7. A case of metal-fume poisoning occurring during shipboard
welding on galvanized material is believed to have been due to an un-              ,,--
authorized change in the temporary ventilation set-up. One of the two
"suckers" used in the area ,...as· reversed so as to blow air into the com-
partment to provide a more comfortable eorking environment. The cross
currents so produced interfered with fume collection by the remaining
"sucker" ~ Supervisory personnel are taking steps to prevent a recurrence
of such an unauthorized change in ventilation set-ups.                      (19)

           P. A request was received from the Fairmount Glass Irorks of
Indianapolis to advise on heat control at their glass manufacturing
operations. The request was peculiarly channeled through the Secretary
of Defense on down to this Command a A letter giving ~eneral guidelines
on the control of radiant heat which was judgaci to be the major contri-
butor to the ?roblem and references for literature and specialists that
may be directly available to the Indiana glass industry, "'as prepared
for the signature of the Commanding Officer.                             (6)

           :.. , 9. ~ A paper presented at the me'eting in Chicago indicated
that propane gas may contain too little odorant to ..1arn of explosive
mixtures. This information was imparted to the Shipyard since we use
propane at this activity. Tests are underway to determine the concentra-
tion of the odorant in the local propane.                                    (4)

          l~ •      An instruction for labeling of hazardous ch~micals
has been published by the Naval Air Basic Training Command, and will be
implemented by subordinate activities at an early date.                 (15)

             ,11.      A Beneficial Suggestion '·1as investigated Yhich advo-
cated revision of several of the Navy-uii!e standard. labels. It. ~,.,as found
that ~'~riting on some labels is illegible because of the color of the       (4)
                                    -176-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 25 of 41




 Release No. 22                                             FOR OFFICIAL USB ONLY

 label. The Beneficial Suggestion was approved. However, it was noted
 that these labels are Navy~wide in distribution and must be changed by
 the originator of the present system.                                           (4)

            12. A leaking drum of hydrofluoric aeid Stock No. G68l0-
 236-5611 was reported from the Supply Department bulk storage area. In-
                                                                                        ,.
 vestigation revealed that S additional drums were potential leakers 8S
 indicated by bulging and general appearance of the drums. These 6 drums
 were drawn and used by the plating shop. Stock quantity will'be limited
 not to exceed a normal 6 months supply with isolated storage in a well
 ventilated area. Personnel in the area bave initial indoctrination on
 potential hazards, preventive measures and first aid procedures.        (16)

           13. We are attempting to maintain a continuous health eduea-
 tio~alprogram for our asbestos ~orke~s. the shop has been most coopera-
tive in this effort. The film, liThe Air We Breath!!, was obtained from
MSA and shown on four occasions to small groups of these employees. This
educational movie was followed by a short discussion of the bazards of.
breathing asbestos fibers and the use of dust respirators.              (3)

            14. A Sdfety Order was written providing speeific instructions
for the storage, use, bandling, and cleanup of mercury_ In each section
of the instructions ie was stressed that the basic principal of controlling
exposure to mereury is containment.                                     (2)

             ~_   A pre-operational environmental survey for background
radiation levels in the Shipyard area was initiated July 1st. in prepara-
tion for future nuclear submarine overhaul. Air, ,river water, potable
water and rainfall samples are being collected. The Shipyard program is
coordina~ed with a State Health Department survey which will cover areas
outs~_ue t.hg confines of t.he Shipyard.    A total of 8 weeks of on-the-job
trai:_DB in radiation F~~tection procedures is being received by three
rnemb~rs of the I.ldust1·:,.;' Hygiene Division at Portsmouth Naval Shipyard
in conjunction l-lich. toe Nautilus overhaul.                                (13)

           16. lhe u. S. C. Safety Supe~isor requested information about
the hazards involved in cleaning up a dry spill of Calcium Hypochlorite.
It was recommended that the Calcium Hypochlorite be removed by dry methods
and that 1V'orkIilen doing the cleaning be provided with respiratory protec-
tion                                                                         (1)

      B.   Personal

            1. An excellent article titled, I'Radiation Hazards Aboard
A Guided Missile Cruiser t ., by Johnson, H., Kinc!svatter, V. H., and ShaW',
C. C. J appeared. in the United State~ Armed Forces Ueciical Journal,         (Buloi)
                                                         \
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 26 of 41




 Reletase No. 22                                                     FOR OFFICIAL USE ONLY


 Volume X, No. 5 of Nay 1959.  Victor H. Kindsvatter is the senior civil
 service industrial hygienist of the medical department of the Philadelphia
 Naval Shipyard. Several other innustrial hygienists have had articles
 published in such periodicals as the Armed Forces ]'ledical Journal, Safety
Review, and pDOfessional industrial hygiene publications in the past year.                   t-':
Among these are l-fr. Ernie Storlazzi of Boston Naval Shipyard, on welding;
Dan Bessemer of Bremerton Naval Shipyard, in ventilation control of dupli-
cating processes; Harry Gilbert, New York Naval Shipyard, aD inert gas
 electric welding; Alfredo Salazar. Naval Air Station, San Diego, on indus-
trial hygiene surveys in IISa fety Revie'W " :> to mention a fe(01. Beginning
this year - 1960 - the Notes will list the articles and publications. so
that readers of these releases will be informed of articles published by
U. SO' Navy officer and Civil Service Industrial Hygienists.

           2. An article by Nr. Jack HcElhiney, senior industrial
hygienists of the San Francisco Naval Shipyard. on an unusual experienc~
in the decontamination of a radioactive waste disposal barge fiill appear
                                                                                             ,.
in the Naval i>!edical News Letter, iJolutne {.35, No.3, of 5 February 1960. (1)

           3. Mr. Charles P. Bergtholdt of the Naval {.Teapons Plant.
Hashington, DO' C., has developed an interesting an/! effective pictorial
presentation of the industrial health program conducted at the Heapons
Plant. The presentation consists of attractive posters depicting the
various services and functions of an occupational health team.            (18)

              4. Ships and those naval activities not having industrial
hygienists attached can obtain the services of a qualified in~ustrial
hygienist for a periodiC industrial hygiene survey by requesting the
Commanding officer of the nearest naval activity having an industrial
hygienists, for this aervice. Requests are processed via the cognizant
District Cotr.mandant, (see NCPI aa~B-4) and rtanual of the Medical Depart-
ment (CH 26-10). Any financial arrangements required are made by the
Corrmands. During the quarter some of the surveys reported are as
fol1()'".rJs:

           Bermuda
           USNAS Oceana                          Hr. Herbert J. Horsham

           NAS   ~lhidbey   Is l~d               Hr.     D~   J. Bessemer

           Naval Research LAB                    Hr. Ray NcClure

           USS   HO~IES COU~'TY      (LST 836)   Nr. Alfredo Salazar & Harry Utes

           ARC- Cable Layer Ship                 LCDR t{m. H. Dentler. ESC, USN

           USN Unden7at.er OrdSta, R. I.         i:1r.   Salazar DiLustro

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Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 27 of 41




     Release No.. 22                                                FOR OFFICIAL USB ONLY


                USN SlA Key "Test                    Mr .. Roland Byrd

                Medical & Dental X-ray
                ahoard ships berthed
                in Shipyard - Norfol                 Mr. Seymour Levinson

                NavSupCen Oak .nd                    Mr. Jack 1-1:cElhiney

                USS ANTIETAM survey                  CDR Ray   Neb~lung.   MSC, USNR

                USN TraCen, Bainbridge               LT C. J. Jordan, MSC, USN

                5.     A survey   t~as   made by tbe Norfolk Naval Shipyard industrial
     hygienists of the concentration of mercury vapors in the Cardio-Pulmonary
     Function Laboratory at the U. S. Naval Hospital, Portsmouth, virginia. (12)

                6. A noise survey is being conducted aboard the USS ANtIETAM.
     sound measurements are being made at various locations on the flight-deck
     and throughout the ship.                                                (15)
                                                                                            ,.
                7. The industrial hygiene diVision of the medical department,
    Portsmouth Naval Shipyard, has expanded considerably to provide the
    extensive monitoring, laboratory, and industrial hygiene advisory services
    necessitated by refueling and overhaul of the SS(N) NAUTILUS and comple-
    tion of the nuclear powered submarine &SS (N) SEADRAGON. To provide
    industrial hygiene coverage on a three shift, seven day week basis. has
    required a division staff total of fifty-one:- forty-four of whom were
    directly employed in the radiological health monitoring and the rest for
    supportive laboratory and general industrial hygiene duties.    To
    supplement the small permanent staff, 34 Production Department employees
    were detailed to the division and trained for radiological monitoring
    York.

               There are several principle radiation or contamination areas
    subject to industrial hygiene monitoring control.   At the USS (N)
    NAUTILUS for work in the reactor compartment a personnel change barge
    has be~n provided~

               This barge contains facilities for issuing protective cloth-
    ing, film badges and dosimeters, a clothing change area ~ith lockers,
    and a health physics room t-lith facilities for industrial hygiene survey
    instruments, laboratory bench for scalers to count air samples, swipes,
    and other samples, and located to enable control of personnel both in and
    out of the lOlV'er reactor compartment. This is the control point of indus-
    trial hygiene service for the NAUTILUS overhaul. All work areas are
    continuously monitorea for radiation level, air concentrations, and sur-
    face swipes for loose contamination. All personnel leaving contamination (9)

                                             -181-
                                                    \
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 28 of 41




 Release No .. 22                                             FOR OFFICIAL USE ONLY


 areas are monitored to assure radioactive cleanliness, and all equipment
 or toJ'aste is monitored and appropriately tagged.                             (9)

            o. Herman Schulz, formerly associared with the New York
 State Department of Labor, Division of Industrial Hygiene, has been
 appointed to fill the vacancy of Assistant Industrial Hygienist.               (10)

             9 ••   Four new positions have been established in rhe
 Industrial Hygiene Division of tb:!.:Medical Department ,for the following:
 Industrial Hygienist, GS-II, Health Physicist, GS-II, Radio Chemical
 Technician, GS-7. and Clerk Stenographer, GS-4. It is expected that tbe
 positions will be filled   t ... iehiD   the next quarter.                     (19)

            10.. Courses of instruc.tions in Industrial Health were. given
 classes of Flight Surgeons and Aviation Medical Tecnnicians at the
 School of Aviation Medicine..                                             (15)

            11. Mr. Harry F .. Roegner reported aboard as an industrial -
 hygienist trainee on 24 August 1959.                                     (4)

             12. The annual industrial hygiene survey of the U. So Naval
 Underwat.er Ordnance Stat.ion, Ne.wport.~ Rhode Island, (V'as conducted by
 the Industrial Hygienist. of the Naval Air Station. Quonset Point..        (20)

           13. The industrial hygienist recently spent two weeks at the
Portsmouth Naval Shipyard in on-the-job training in the Industrial Hygiene
Division of the Medical Department, for nuclear work. An opportunity
was afforded to observe the procedures for contamination control and
personnel protection during overhaul (V'ork on the NAUTILUS. Information
was also obtained on the organization cf the Health Physics Branch,
personnel matters. field and laboratory equipment., analyt.ical procedures.
dosimetry, medical clearance, waste disposal, and limits of exposure
and contaminat.ion.                                                       (13)

           14. Radiac coordinators from various shipyards and ot.her naval
installations visited this shipyard for t.raining in regard to tbe neutron
calibrating range developed here. A brief talk was given on the Health
Physics aspects. of the range.                                           (2)

            15. Included in a Middle Hanagement upervisor raining ,ou["se
were talks by the Industrial Hygienists and the Health Physicist to
acql!aint the trainees l'7ith the philosophies. terminologies, and activities
of the respective disciplines.                                             (2)

VII.   Composition Dat.a   (information will be found on separate page)

                                          -182-




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                                                                                       \
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 29 of 41




     Release No. 22                                           F(R OFFICIAL USE ONLY


     VII. Composition Data
           A. The following data is to be treated as r:Ccmmercially Discreet!!
     information and is to be used for official purposes only:

                1. In ~ccordance with SECNAV Instruction 6260.3 and BUSHIPS
     Instruction 6260.3~ on labellin& toxic materials.   the following new
     materials were introduced into the shipyard and aSSigned a label accord-
     ingly:

           Penetone Formula 426 - eresylic acid   15~,   chlorinated solvents
     45t label BuSandA 9981.
           Pero-Klean Harine Cleaner IISOI - high flash aromatic hydrocarbon
     oil, label BuSandA 9981.

          Miracle Mastic Type P - solvent is Petrolene, label BuSandA 9988.

          ~y-Temp Block Insulation - diatomaceous earth 63-707., asbestos
    fiber 12-15%. no label.

          Foster 81-33 Fire Resistive Adhesive - xylol     41.5~   by volume,
    alkyd short oil 237., Bu~~n~\·9988.

          Carlon PVC Cement and Primer - cetrahydrofurance     66~,   label
    BuSanOA 9996.

          Fabertite - Contains coa1 tar, label BuSandA 9967.                    (12)

               2.   Other products!

          Pressure Sensitive Tape. No. 42EC. manufactured by the Minnesota
    Mining and Manufacturing Company contains no ketones, phenols, aldehydes
    or other material that would be suspected of causing skin irritation or
    sensitivity~                                                                (9)

           Porselon #600 is a two component coating manufactured by Protex-
    A-Cote Incorporated. Segment #1 contains 507. resin and JU4 technical
    grade amyl acetate by volume. Segment #2 contains Set aliphatic amine
    and 50'7. aclyl acetate by volume. The combustion products would contain
    amines. carbon monoxide, carbon dioxide and cyanices.                       (9)

          Formula 121X paint.
                               This formula contains more solids than
    Formula 121 and in addition contains a significant amount of tricresyl
    phosphate.                                                                  (4)

                                      -183-
\.              ,                                    \
     Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 30 of 41




      Release No. 22                                            FOR OFFICIAL USE ONLY

            Aircosil Flux.   Used in,silver soldering.      Qualitative tests
      for boron ~..ere positive. Fluorides were present (approximately 101.).
      PH of the mixture is about seven. It contains about 651. water. Appears
      to be similar to Handi-Flu.'C tV'hich contains about 11% fluorides and has
      a pH of 6.0.   Flame tests   sho~ed   no sodium or calcium.                  (4)

            Pitt Chern Thinner - manufactured by the Pittsburgh Coke and
      Chemical Company is a high boiling heavy grade solvent naphtha (aromatic).
                                                                                  (9)

          Glass Cote Sealer - distributed by Robert J. Elliot, Boston,
     Massachusetts, '·las found to contain excessive amounts of Xylene. No        (8)
      precautionary measures for use of this material was stated on the label.

           Durapox - a two component e?OKy resin product is manufact red by
     the Durant Paint. Incorporated, Revere, Massachusetts. Duraso1 is the
     name of the associated polyamine hardener.                                   (8)

           Stripper CS6~67D. Turco Products Co. Contains 461. sodium
     monosilicate pentahydrate~ 48% sodium trisilicate and 470 sodium resinate
     and cresylic acid added.                                                  (6)

           Cleaner. Uil-C-16553 .. Type I - A clear solution of ammonium and
     amine soaps with or without a hydrocarbon solvent.                           (5)

          Acrvlic cellulose - nitrate lacquer. Mil-L-19537 - Metbyl
     methacrylate, diisooc:tylphthalate, ketone, alcohol, toluene.                (6)

           Denatured ethyl alcohol. JAN-A-463 • Ethyl alcohol to- which has
     been added dye or denaturant (C-l grade).                                    (6)

          Potting coapound MIL-S-8516B - Base, polysulfide rubber, 55% in
     aromatic hydrocarbon. No benzene shall be used.                              (6)

           Turco 2822. Turco Products Com~any - A general paint remover and
     desealant for neoprene and thiokol ad~esives. Contains chlorinated
     hydrocarbons..                                                         (6)

           Acrylic lacquer. "Mil-L-l9538 (Aer) - Methyl e~hyl ketone, methyl
     isobutyl ketone. octane, isophorone; cellosolve acetate, toluene,
     nitrocellulose compounds, methyl methacrylate, dioctyl phtbalate.            (6)

           Acrvlic thinner. !-lil-T-19544 (Aerl - Cellosolve acetate,    20'7~,
     methyl isobutyl ic.etone, 40% and toluene 401..                              (6)

           Alodine 1200 - :!ixtul:"e cf c.!1romic acid, simple and complex
     fluorides and phosphoric aci~.                                               (6)

                                      -1{:4-
Case 2:18-cv-02682-ER Document 1-83 Filed
                         -- -------                 .. ,"'"
                                       ......., .,-06/26/18 Page 31 of 41
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     Release No. 22                                          FOR OFFICIAL USE ONLY

            Blac1( phenolic resin. Mil-R-J043 .. it shall hot contain chlorinated
     compounds or benzol aoa shall Dot have an irritating or nauseating odor. (6)

           Camouflage lacquer, Hil-L-00-6.:l0B .. a cellulose nitrate lacquer.         (6)

           Cellulose nitrate LacQuer, Mil-L-717S .. Non-oxldizing phthalic
     alkyd resin, diisooctyl phthalate butyl acetate. ethyL acetate~ butyl
     alcohol, toluene. naphtha.                                                        (6)

           Cellulose nitrate thinner. T-T-T-266A . may contain methyl isobutyl
     carbinol, methyl ethyl ketone, methyl isobutyl ketone, toluene.                   (6)

           Cellulose acetate bllty!:'ate dope. Hil-D-SS51D .. Cellulose acetate
     butyrate, plasticizer. butyl acetate, diacetone. ethyl acetate and
     methyl ethyl ketone.                                                              (6)

           Cellulose acetate butyrate thinner. Mil-T-6097A - Butyl acetate
     and diacetone alcohol.                                                        (6)

          Compound grease cleaning solvent, "gunk:, Emulsion Tyee II.
    Phenolic. Fatty acid soap 517.. cresyl:l.c acid 161.. butyl alcohol 1'%.
    hydrocarbon oil (Kerosene) 321..                                               (6)

          Day CIa fluorescent paint. Nil-P-21S63 (Aer) - AcryliC resin and
    aromatic thinners. Contains no ketones, cellosolve acetate or mineral
    spirits.                                                                       (6)

          Deoxidene - Phosphoric acid (757.), butyl cel1os01ve and 17. nonionic
    wetting agent.                                                            (6)

          Nacconol detergent Hatting agent - Sodium alkyl aryl sulfonate.
    National Aniline and Chemical Company                                          (6)

          Nubelon enamel (Glidden Paint Co.) - A silicone. epoxy paint Hith
    accelerator added. Cures at 425 .. 450 0 F.                                    (6)
                                                                            0
          Parko Lubrite - Phosphoric acid for surface..treatment (205-210        F.)
          Nokorode 731 - referred to locally as Paralketone, Mil-C-16l73A
    Corrosion preventive solvent cut back. .. skin irritant. 60% asphaltic
    base, 40~ miaeral spirits. Lion Oil Company.                           (6)
          Polyurethane pfaEna) S.fB. (Sherwin-Hil1iams Co.) .. Polylsocyanate
    reacted with hydroxyl bearing resins in a solvent sYstem, reported as
    non-toxic and non~irritating.                                             (6)

          Preservation oil, ~il·~-6'63 - a petroleum base oil with tricresyl
    phosphate and inhibitors. L-ic::esyl phosphat:e is a toxic material.     (5)

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                             <                <.                                              <
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 32 of 41




  Release No. 22                                           FOR OFFICIAL USE ONLY


        Preservation all AN-c-124C - a corrosioD greveative'eompouod
  (non-volatile) dispersed in petroleum solvent. Benzol and chlorinated
  hydrocarbons are excluded.                                                      (6)

        Pretreatment coaeing (Glidden) Mil-C-8S14 (a) Glidden Paint Co.
  Polyvinyl butyral resin, zinc chromate. magnesium silicate, lampblack,          (6)
  butyl alcohol~ ethyl alcobol, acid component, phosphoric acid, water,
  ethyl alcohol.
        The resin: polyvinyl alcohol, 10-207., polyvinyl acetate 1-1.5%,
  voc,latile aO-921u                                                              (6)

        Rubber Adhesive, Mil-A-5092A - reclaimed Tubber, neoprene or
  Buna-N is an aromatic solvent (Toluene).                                        (6)

        Rubber. Goodyear. Chemigum. Mil-S~7502B, Class B-2 (Aer),
  Goodyear Rubber Company. A synthetic rubber of the polysulfide type and
  a curing compound not dependent upon solvent evapo~ation.               (6)

       Sprayla~ (Spraylat COTp.) - plasticized resins and less than l~
 ammonia sprayed as a translucent protective coat on plexiglass canopy.          (6)

       Strippers C-67D. Hil-R-7751A - for stripping steel or anodized
 aluminum; sodiu~ monosilicate pentahydTace 42%; sodium trisilicate 48%;
 sodium resinate 4%; pH-ll.5-l2.5; 22 .. 5-25% by wt. sodium peroxide.   (6)

        Stripper C-85 - Cresylic acid.

       Transpo. Turco Products Co. - a tt-~o phase cleaner containing       (6)
 methylene ch!oTide and cresol in the lot"er layer and ~Jater in the upper.

        Turco. 3002A.   Turco Products Co. - a phosphoric acid brightener.

        Turco. 30S7C - a phosphoric acid brightener for aluminum.                (6)

        Turco. 4228 - a strong caustic for grease and carbon removal ..

       Vinyl paint for silk SCTeen process HIL-D-8634A and Hil-P-8793,
 ASG - Vinyl resins and plastiCizer 207.; isophOi:'one ¥1~~ pe,troleum naphtha
 20%.
       Hestcoat clear #202. Jan-C-149-Type II. ~lestern Coating Company
 (Improherlv referred to as Er~nel). It is a cellulose acetate butyrate                 I-
                                                                                        !
 compound corro~ion ?reventive. Also contains plasticizers and stabili~ers.

       Sealant. ~:il-S-7502 - a synthetic rubber of the polysulfide type                , .
 sealing compound and a se?arate curi~g agent.                                   (6)    i'


                                   -186-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 33 of 41




      Release No .. 22                                            FOR OFFICIAL USE ONLY

      *   Numbers in parenthesis listed throughout this Report, refer to the
      follm"-iog st:ations:

               (1)   NSY  San Francisco, California
               (2)   NSY  Mare Island, California
               (3)   NSY  Long Beach, California
               (4)   NSY  Puget Sound, Bremerton. l1asbingto'l1
               (5)  liAS Alameda, California
               (6)  NAS San Diego, California
               (8)  NSY Boston, Massachusetts
               (9)  NSY Portsmouth, New Hampshire                                          :
                                                                                           i'
                                                                                               ..
              (10)  NSY New York, New York
               (11) NSY Philadelphia, pennsylvania
               (12) NSY Norfolk, Virginia
              (13) NSY Charleston, South Carolina
              (14) NAS Norfolk, Virginia                                                   ,.
              (15) NAS pensacola, Florida
              (16) NAS Jacksonville, Florida
              (17) NAS Corpus Christi. Texas
              (18) N'[VP !-lashington, D. C.
              (19) NSY gl2S, Pearl Harbor. Hawaii
              (20) NAS Quonset POint, Rho6e Island
              (21) NAn Crane, Indiana




                                                           enclosure (1)                  i·
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 34 of 41




             INDEX TO "OCCUPATIONAL HEALTH HAZARDS"
                              Release No. ZZ



     Acidic gases~ in decomposition of paint, p. 158, item 3
     Acrylic cellulose - nitrate lacquer MIL-L-19537, p. 184, item 2.
     Acrylic ester base paint, p. 158, item 3
                                                                         ,.
     Acrylic lacquer, MIL-L-19538 (Aer), p. 184, item 2.
     Acrylic thinner MIL-T-19S44 (Aer). p. 184, item Z
     Aircosil flux, p. 184, item 2.
     Alcohol. p. 184, item 2
     Alcohol. ethyl. p. 186
     Alcohol. ethyl, denatured, p. 184. item 2.
     Aldehydes, in decomposition of paint, p. 158, item 3
     Alkaline gases, in decomposition of paint, p. 158, item 3
     Alkyd short oil; p. 183, item 1
     Alodine 12.00, p. 184, item Z
    Aluminum. alloy No. 55-56, welding of, p. 164, item 27
    Aluminum. alloy 618, p. 164, item 27
    Aluminum. cleaner for. p. 161, item 15
    Amine hardeners, in Plasite paint, p. 157. ite:m A-I
    Arnines, p. 183, item 2
    .A.nline soap. p. 184, ite:m 2
    Arnines. organic. from Devran coating. p. 158, ite:m 4
    Ammonia, p. 186
    Ammonium bifluoride, pO' 177. ite:m 2
    Arn:moniu:m soap. p. 184. item 2
    Amyl acetate, p. 183, item 2
    AN/PDR 2 radiac set, p. 175, item B-1
    ANSPS/29 radar unit, p. 175, item D-1
    AN /SPS-8A radar scope, p. 172, item 2
    Arsine. in cable tanks and cones. p. 157, item 2
    Asbestos dust, hazards (mOVie film), p. 179, item 13
    Asbestos fiber, p. 183,' item 1
    Asphalt coal tar pitch. burns from, p. 166, item 6; p. 167. item 9

    Battery repair shop, control of fumes, p. 162. item' a
    Benzene, protection against. p. 166, iteIn 8
    Benzol. in JP-4 fuel. p. 162, item 17
    Black phenolic resin :MIL-R-3043, p. 185
    Bo:ron. p. 184. item 2
    Buffing and grincling wheels. ventilation fo:r, p. 162, item g



                                   -lBB-
                                                                                       (
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 35 of 41

                                                                              ',.,..




 Buna-N~ p. 186
 Buta.nol~   in De-Oxalum, p. 161, item 15
 Butyl   acetate~  p. 185
 Butyl   alcohol, p. 185 j p. 186
 Butyl   cello solve, p. 185
 Butyl   cellosolve, in De-Oxalum, p. 161, item 15
 Butyl   cellosolve, from Devran coating, p.158, iteIn 4

 Cable tanks and cones, oxygen content, p. 157, iteIn 2
 CalciuIn hypochlorite, disposal of~ p. 179, item 16
 Camouflage lacquer MIL-L-00680B, p. 185
 Carbon dioxide, p. 183, item 2
 Carbon dioxide, as contaminant in liquid oxygen, p. 176, Sect. VI, itezn I
 Carbon dioxide, in cable tanks and cones, p. 157, item Z
 Carbon dioxide, in dry ice storage tanks, p. 163, item 21
 Carbon dioxide shielded welding, p. 163, item 24
 Carbon monoxide, p. 183, item l
Carbon monoxide, formation in paint drying, p. 162, item 16
Carbon monoxide, from burning out boiler tubes, p. 163, item 19
Carbon :r.nonoxide, from gasoline power units. p. 163, item 20
Carbon monoxide, in cable tanks and cones. p. 157, item 2-
Carbon monoxide, in carbon dioxide shielded welding, p. 163, item 24
Carbon monoxide, in decomposition of paint, p. 158, item 3
Carlon PVC Cement and Primer, p. 183. item 1
Cellosolve· acetate, p. 184, item 2
Cellulose acetate butyrate dope :MlL-D-5551D, p. 185
Cellulose acetate butyrate thinner MIL-T-6097 A, p. 185
Cellulose nitrate lacquer MIL-L-7178, p. 185
Cellulose nitrate thinner T-T-T-266A, p. 185
Cesiwn 137, carrying cases for, p. 17 3, item 4
Chemicals, hazardous, labeling of, p. 162. itern k; p. 178, items 10-11
Chlorine, p. 158, item 5
Chlorophenyl-phenol, skin irritation frorn, p. 165, item 3
Chlorothene, SEE 1,1, I-Trichloroethane
Chrome .Ieather welding gloves. dermatitis from, p. 165, iteJD 2
Chromic acid. p. 184, item 2
Clarco disinfectant, skin irritation from, p. 165, item 3
Cleaner, MIL-C-I6553, Type I, p. 184, item 2
Coal tar, po. 183, item 1
Cobalt 60, carrying cases for. p. 173~ item 4
Compound grease cleaning solvent, IIgunk:. Emulsion Type II,
 Phenolic, p. 185

                                 -189-



                                                                                           i:
                                                                           '(
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 36 of 41




   Cresol, p~ 186
   Cresylic acid, p~ 183, item 1; p. 184, item Z; p. 185 i p. 186,
   Cyanides, p. 183, item Z

  Day Glo fluorescent paint, MIL-P_ZI563, p. 185
  De .. Oxalum, p~ 161, item 15
  Deoxidene, p. 185
  Detrex degreaser, p. 162, item h
  Devran coating, p. 158, item. 4
  Diacetone, p. 185
  Diacetone alcohol, p. 185
  Diatomaceous earth, p. 183, item 1
  Diethylamine triamine, p,. 165, item 1
  DHsooctylphthalate" p. 184, item 2; p. 185
  Dimethylaniline, in metal coatings, p. 160, item 10
  Dioctyl phthalate, p. 184, item 2
  Dian-Iso polyester resin, p. 160, item 10
  Dry ice storage tank, carbon dioxide in, p. 163, item 21                !"
  Durapox, p. 184, item 2
  Durasol, p~ 184, item Z
  Dust, in air, determination of, p. 177, item 5

  Epoxy coatings, p. 165, item 1
  Epoxy resins. dermatitis from, p. 166, item 7; p. 167. items 9,10,12.
  Eronel, p. 186
                                                                          ;'.
  Ethyl acetate, p. 185
  Ethyl alcohol, p .. 186
  Exposure graft No .. B 55Z-180, p. 175, item B-1

  Fabertite, p .. 183, item 1
  Fatty acid soap, p. 185
  Fiber glas 5 lagging. dust concentration, p. 161, item 14
  Film No. B 55Z-205, p. 175, ite:rn B-1
  Fluorescent red orange paint, color 633, eye fatigue from, p .. 170,
   item 3
  Fluorides, p. 184. item Z
  ForUlula lZ1X paint, p. 183, item. Z
  Foster 81-33 Fire Resistive adhesive, p. 183, item I
  FUIYles, from burnout tests, p. 159, item 7

  Gaznma particles, exposure to, p. 175, item 0
  Gasoline tanks, lead poisoning from c1ean.ing of, p. 178, ite:m 6
  Glass Cote Sealer, p~ 184, item l

                                  -190-
                           '.
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 37 of 41
                                                                        \




 Handi-Flux:, p. 184, item Z
 Heat, excessive, exposure to, p. 167, item A
 Hydraulic fluid. solvent for, p. 161, item 13
 Hydrocarbons, chlorinated, in cable tanks and cones, p. 157, item 2
 Hydrofluoric acid, p. 179, item 12
 Hydrogen sulfide, in cable tanks and cones, p. 157, item 2
 Hy-Temp Block Insulation, p. 183, item 1

 nlurnination problems, p. 110-171
 Insulating compounds, protection in handling. p. 162. item c
 Isophorone, p. 184, item 2; p. 186
 Isopropanol, skin irritation from, p. 165. item 3
 Isotopes, radioactive, disposal of, p. 175, item E-l

 J -57 engine, noise from, p. 169, item 4
 JP-4 fuel, benzol in, p. 162, item 17

Kerosene, p. 185
Kerosene, dermatitis froni. p. 167, item 11
Ketone, p. 184, item 2
Komul, biturnastic paint, burns from, p. 167, item 9

Lacquer primer, p .. 158" item 3
Lampblack" p. 186
Lead, excretion of, p. 178~ item 6
Lead. shielding for nuclear waste tanks,· p. 159, item. 8
Lead" shielding for radiation" p. 171-172
Liquid oxygen containers, tricresyl phosphate in mist, p. 159. item 9
Liquid oxygen, contamination of. p. 176, Sect. VI, item 1

Magnesia, dust concentration, p. 161, item 14
Magnesiwn, in aluminw:n alloy, p. 164, item 27
Magnesium silicate, p. 186
Magse1ect, SEE 1, I, I-Trichloroethane
Mark-Z5 radar scope, p. 17Z, item Z
Mercury oxide, in antifouling paint, p. 177, item 4
Mercury, protection against, p. 179, item 14
Mercury vapor, p. 177, item 4
Metal-fume poisoning. p. 178. item 7
Methane, as contaminant in liquid oxygen, p. 176, Sect. VI, item 1
Methyl chloroform. SEE 1, 1, 1-Trichloroethane
Methylene chloride. p. 186
Methyl ethyl ketone, p. 184, item 2; p. 185

                                 -191-
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 38 of 41




  Methyl isobutyl carbinol~ p. 185
  Methyl isobutyl ketone, p. 184, item 2; p. 185
  Methyl methacrylate, p. 184, item 2
  Microwaves, eye injury from, p. 168, item 2
  Microwaves, measuring device for, p. 168, item 5
  Mineral spirits, p. 185
  Miracle Mastic Type p~ p. 183, item 1                                       !
  Motion picture Repair Section .. control of dust and solvent vapors   in~
   p. 162, item e

 Naccono1 detergent wetting agent, p. 185
 Naphtha, p. 185
 Neon laIIlps~ as indicators for microwaves, p. 168, item 5
 Neon 1ights~ as indicators of microwaves from radar, p. 168~ item 3
 Neoprene .. p. 186
 Nitrocellulose compounds, p. 184, item Z
 Nitrogen, in evacuating moisture from Lax: containers, p. 159~ item. 9
 Nitrogen oxide, as contaminant in liquid oxygen.. p. 176, Sect. VI,
  item 1
 Nitrogen oxides, in carbon dioxide shielded welding, p. 163 .. item 24
 Nitrogen oxides, in decomposition of paint, p. 158, item 3
 Nitrous gases, in cable tanks and cones, p. 157, item 2
 Noise, analyses of pressure and frequency, p. 162, item j
 Noise, exposure to, p. 169-170
 Nokorode 731, p. 185
 Nube10n enanlel, p. 185

 Octane, p. 184, item 2
 Oxygen, depletion in paint drying, p. 16 Z, item 16
 Oxygen generator, potassium hydroxide in, p. 166, item 5
 Oxygen, in cable tanks and cones I p. 157, item 2
 Ozone, in carbon dioxide shielded welding, p. 164~ item Z4
 Ozone, in welding, p. 164, item Z7

 Paint, radioactive luminous, disposal of, p. 162, item ii p. l1Z, item 3
 Paints~ bituminous~  burns from, p. 166, item 6; p. 167, item 9
 Paint, vapors~ hazards in drying, p. 161, item 16
 Paralketone (:MIL-C-16173A). p. 185
 Parko lubrite, p. 185
 Penetone Formula 4Z6, p. 183, item 1
 Pentachlorophenol, p. 160, item lZ; p. 165. item 2.8
 Pero-Klean Marine Cleaner #801, p. 183, item 1


                                 -192-
                                                                         \.
Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 39 of 41




 Petrolene, p. 183, ite!!l 1
 Petroleum naphtha, p. 186
 Phenol, skin irritation from, p. 165, item 3
 Phosgene, in cable tanks and cones, p. 157, item 2.
 Phosgene. in decomposition of pa.int, p. 158, item 3
 Phosphate ester fluids, protection against, p. 160, item 11
 Phosphoric acid, p. 184, itelT.l Z; p. 185; p. 186
 Phthalic alkyd resin, p. 185
 Pitt Chern Thinner, p. 184, item l
 Plasite Paint Formula No. 7144, p. 157, item A-I
 Plating Section, handling of chemicals in, p. 162, item d
 PlutoniuID 239, di5PO~~ of, p. 17 3, item 5
 Ply #2 protective skin cream. p. 171. item 3
 Polysulfide rubber. p. 184. item 2.
 Polyurethane (Magna) S. &:: W., p. 185
Polyvinyl butyral resin, p. 186
Porselon #600, p. 183, item Z.
Potassium hydroxide, contamination in oxygen generator, p. 166, item 5
Potting compound MlL-S-8516B, p. 184, item Z
Preservation oil M-C-124C, p. 186
Preservation oil, MlL-O-6083, p. 185
Pressure Sensitive Tape, No .. 4Z8C, p. 183, item Z
Pretreahnent coating MIL-C-B514, p. 186
Primers, rapid drying, p. 158, item 3
Propane gall, odor concentration, p. 178, item 9

Radar, eye injury fraIn, p. 168, item 2
Radar, microwaves, measuring device for, p. 168, item 5
Radar Modulator Unit An.-SPS-29, p. 168, item 4
Radar, protection against, p .. 168, item 3
Radar scopes. p .. 172. item Z
Radiant heat, control of, p. l78. item 8
Radiation, exposure to, p. 171-176
Radiatiorl, protection against by lead shielding, p .. 171-172
Radiation, protection procedures, p. 179, item 15
Radiation, ultraviolet, in welding, p. 164, item 27
Radioactive markers, remov:al of, p .. 162, item b
Radioactive waste, disposal of, p. 175, item F-l
Radium 226, carrying cases for, p. l73, item 4                                i!
Radiwn salts, in paint. p. 172, item 3                                        ~.   .
Regulus II missile, noise from, p. 170, item 7
Rubber adhesiye. MIL-A-5092A, p. 186
Rubber, Goodyear,· Chemigum MlL-S-7502B. Class B-2 (Aer), p. 186

                             -193-
Case 2:18-cv-02682-ER Document
                       ---..             - 06/26/18 Page 40 of 41
                               1-83 .....Filed
                                   -----.,-.,,----~   ""~:-."''''''',""'




  Saran-coated gasoline tank, fumes from welding of, p. 163, item 23
  SBS #30 waterless skin cleanser, p. 111, item 3
  Sealant - MIL-S-7502, p. 186
  Sealing compounds, protection in handling, p. 162, item c
  Silver soldering booth, control of ftunes in, p. 162, item f
  Sodium alkyl aryl sulfonate, p. 185
  Sodiunl monosilicate pentahydrate. p. 184, item 2; p. 186                    l.
  Sodium peroxide, p. 186
  Sodium resinate, p. 184, item 2; p. 186
  Sodium. trisilicate, p. 184, item 2; p. 186
  Spray1at, p. 186
  Stripper C-86, p. 186
  Stripper C 86-67D. _p. 184, item 2
  Strippers C-67D, MIL-R-7751A, p. 186
  Sulfur dioxide, in decomposition of De-Oxalum, p. 161, item 15

  Teflon-, in soldering of wire, p. 163, item. 22
  Tetrahydrofuran, p. 183, item 1                                              I
                                                                               i·-
  Thyratron tubes, p. 168, iteIrl 4
  Toluene, p. 184, item 2; p. 185; p. 186
  Transpo., p. 186
  1, l,l-Trichloroethane, p. 157, item A-I; p. 161, item 13; p. 167, item 11
  Trichloroethylene, dermatitis from, p. 167, item 11
  Trichloroethylene, from vapor degreaser, p. 159, item 6
  Tricresyl phosphate. p. 183, item 2; p. 185
  Tricresyl phosphate, in mist from liquid oxygen tank, p. 159. item 9
  Turco 2822, p. 184, item 2.
  Turco 3002A, p. 186
  Turco 3087C, p. 186
  Turco 4228, p. 186

  Ventilation, aboard ship, p. 176, Sect. IV
  Versene, in disposal of radioactive paint. p. 173, item 3
  Vinyl paint for silk screen process MIL-D-8634A and MIL .. P-8793, p. IBb
  Vinyl resins, p. 186
  Vythene, SEE 1.1, I-Trichloroethane

  Welding, flash burns in, p. 164. item 26                                     I
  Westcoat clear #202, Jan-C-149-Type II, p. 186                               '.
  White lead, dermatitis from, p. 167, item 11
  Wood preservative (pentachlorophenol), p. 165. item 28

                                ·194-
\
                                                          \            \
    Case 2:18-cv-02682-ER Document 1-83 Filed 06/26/18 Page 41 of 41
                                          ..

               Xylene, p. 184, item Z
               Xylene vapors, from spray painting, p. 164, item 25
               Xylol, p. 183, item 1
               X-radiation, protection against, p. 175, item n:"l
               X-rays, protection against, p. 175, item B-1
                                                                           i '.
               Zinc chromate, p. 186
               Zinc chromate prUner, p .. 158, item 3




                                                                           !.




                                               -195-
